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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

  CENTRIPETAL NETWORKS, INC.,                         )
                                                      )
         Plaintiff,                                   )
                                                      )
  v.                                                  )       Case No. 2:18cv00094-HCM-LRL
                                                      )
  CISCO SYSTEMS, INC.                                 )
                                                      )
         Defendant.                                   )

                DEFENDANT CISCO SYSTEMS, INC.’S NOTICE OF APPEAL

         Pursuant to Federal Rules of Appellate Procedure 3 and 4 and 28 U.S.C. §§ 1291 and 1295,

  notice is given that Cisco Systems, Inc. (“Cisco”) appeals to the United States Court of Appeals

  for the Federal Circuit from the Judgment entered on October 5, 2020 (Docket No. 622) and all

  preceding and subsequent decisions and rulings that underlie or are intertwined with it, including

  but not limited to:

         1. The opinion and order memorializing and explaining the Court’s claim construction

  rulings issued on February 20, 2020 (Docket No. 202);

         2. The order denying Cisco’s motion for summary judgment on the issue of infringement

  issued on April 27, 2020 (Docket No. 412);

         3. The rulings made adversely to Cisco during the pretrial conference;

         4. The rulings made adversely to Cisco during the bench trial;

         5. The order denying Cisco’s motion for miscellaneous relief issued on October 2, 2020

  (Docket No. 619);

         6. The opinion and order finding the ’856 Patent, the ’176 Patent, the ’193 Patent, and the

  ’806 Patent claims valid and literally infringed, awarding damages and pre-judgment interest

  against Cisco totaling $1,903,239,287.50, and imposing a running royalty (Docket No. 621); and
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         7. The opinion and order denying post-judgment motions and declaring the case final,

  issued on March 17, 2021 (Docket No. 638).

  Dated: April 14, 2021                                   Respectfully submitted,


                                                   CISCO SYSTEMS, INC.



                                                   By            /s/
                                                   Of Counsel



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